                                                                                CLERK'S OFFICE U,S. DIST. COURT
Case 7:17-cv-00079-EKD-RSB Document 31 Filed 06/26/17 Page 1 of 19 Pageid#: 208 VA
                                                                      AT ROANOKE,
                                                                                               FILED

                                                                                         6/26/2017
                                                                                     JULIA C. DUDLEY, CLERK
                        IN THE UNITED STATES DISTRICT COURT                         BY:    KB
                       FOR THE WESTERN DISTRICT OF VIRGINIA                              DEPUTY CLERK
                                 ROANOKE DIVISION

    NANCY BLANCHARD,                            )
                                                )
           Plaintiff                            )
                                                )
    v.                                          )      Civil Action No. _______________
                                                                         7:17-cv-00079
                                                )
    SCOTT PRATER,                               )
    an investigator for the                     )
    Smyth County Sheriff’s Office;              )
                                                )
    JONATHAN A. TABOR,                          )
    Special Agent for the                       )
    Bureau of Alcohol, Tobacco,                 )
    Firearms and Explosives;                    )
                                                )
    DOUG TUCK,                                  )
    a deputy with the                           )
    Wythe County Sheriff’s Office and           )
    the Claytor Lake Drug Task Force;           )
                                                )
    and                                         )
                                                )
    ADAM WILLIAMS,                              )
    a/k/a A.M. WILLIAMS,                        )
    an investigator for the                     )
    Wythe County Sheriff’s Office,              )
                                                )
           Defendants.                          )

                                  AMENDED COMPLAINT

           Plaintiff Nancy Blanchard (hereinafter “Mrs. Blanchard”), by counsel, moves for

    judgment against Defendants Scott Prater, an investigator for the Smyth County Sheriff’s

    Office; Jonathan A. Tabor, Special Agent for the Bureau of Alcohol, Tobacco, Firearms

    and Explosives; Doug Tuck, a deputy with the Wythe County Sheriff’s Office; and Adam
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    Williams, a/k/a A.M. Williams, an investigator for the Wythe County Sheriff’s Office,1

    and as grounds therefore states as follows:

                                        INTRODUCTION

           1.      This is an action for:

                   a.      Violation of the Fourth Amendment to the United States

                           Constitution, pursuant to 42 U.S.C. § 1983;

                   b.      Malicious prosecution; and

                   c.      Malicious prosecution in violation of constitutional rights.

                                            JURISDICTION

           2.      This Court has jurisdiction pursuant to 28 U.S.C. §§ 1331 and 1343(a)(3)

    and (4).

           3.      Mrs. Blanchard respectfully requests that this Court exercise supplemental

    jurisdiction over her state law claim pursuant to 28 U.S.C. § 1367.

           4.      All events giving rise to this action occurred in Wythe County, Virginia:

    venue is proper in the Western District of Virginia, Roanoke Division, pursuant to 28

    U.S.C. § 1391(b)(2).

                                            THE PARTIES

           5.      Mrs. Blanchard is/was an owner and resident of the real estate at 543 Red

    Apple Orchard Road, Rural Retreat, Virginia 24368 (hereinafter the “Blanchard

    property”), which is located primarily in Wythe County, Virginia.2 Mrs. Blanchard is/was



    1
      Defendants are sued in their individual capacities: descriptions are merely to ensure the
    Defendants are accurately identified.
    2
      Part of the 12-acre property is located in Smyth County, but the residence located on the
    property is in Wythe County.



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    married to Robert C. Blanchard. Mr. Blanchard is/was an over-the-road truck driver, and

    from time to time would stay at the Apple Orchard Road address. Within the residence

    Mr. and Mrs. Blanchard maintain separate areas, and use separate entrances to gain entry

    into their respective living areas.

             6.      On or about January 9, 2014, Scott Prater (hereinafter “Prater”) was an

    investigator for the Smyth County Sheriff’s Office who participated in an unlawful search

    of the Blanchard home in violation of the Fourth Amendment to the Constitution of the

    United States.

             7.      On or about January 9, 2014, Jonathan A. Tabor (hereinafter “Tabor”) was

    Special Agent for the Bureau of Alcohol, Tobacco, Firearms and Explosives who

    participated in an unlawful search of the Blanchard home in violation of the Fourth

    Amendment to the Constitution of the United States.

             8.      On or about January 9, 2014, Doug Tuck (hereinafter “Tuck”) was a

    deputy with the Wythe County Sheriff’s Office and the Claytor Lake Drug Task Force

    who participated in an unlawful search of the Blanchard home in violation of the Fourth

    Amendment to the Constitution of the United States.

             9.      On or about January 9, 2014, Adam Williams, a/k/a A.M. Williams

    (hereinafter “Williams”) was an investigator for the Wythe County Sheriff’s Office who

    facilitated and/or participated or assisted in an unlawful search of the Blanchard home in

    violation of the Fourth Amendment to the Constitution of the United States.

                                               FACTS

             10.     The foregoing paragraphs are adopted and re-alleged herein as if fully set

    forth.




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           11.     During the early morning hours of January 9, 2014,3 law enforcement

    officers arrested Mr. Blanchard on gun and drug possession charges.

           12.     Hours after arresting Mr. Blanchard, the Defendants proceeded to the

    Blanchard property.

           13.     Upon arriving at the property, the Defendants and/or other law

    enforcement officers at Defendants’ direction established a perimeter around the property

    and refused to permit anyone to enter or leave the property.

           14.     Several hours later the Defendants and/or other law enforcement officers

    at Defendants’ direction approached the Blanchard residence, secured it, and began a

    thorough search of the residence and its curtilage.

           15.     Defendant Tuck told Mrs. Blanchard that a search warrant had been

    obtained and that he would provide a copy to her, but at the time officers seized and then

    began to search the property, no search warrant had been obtained.

           16.     While searching the property, Defendants, specifically to include

    Defendants Prater and Tabor, and/or other law enforcement officers at Defendants’

    direction, seized Mrs. Blanchard and would not permit her to leave the property,

    restricted her movements within her residence, and then removed her from the residence

    and questioned her about alleged illegal activity.

           17.     Several hours after the Defendants and/or other law enforcement officers

    at Defendants’ direction had seized and begun their search of Mrs. Blanchard’s property,




    3
     Mrs. Blanchard was criminally prosecuted as a result of the events alleged herein: this
    action is filed within statute of limitations as it was tolled during her prosecutions.



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    Defendant Williams prepared and presented to a magistrate an affidavit for search

    warrant, and upon which the magistrate relied in issuing a search warrant.

           18.     Williams’ search warrant affidavit was erroneous in material respects, to

    include that it listed as defendant a person other than Mr. and/or Mrs. Blanchard, it

    erroneously described the house on the Blanchard property as blue and as having a white

    porch, and it lacked necessary facts to support the reliability of a confidential informant

    whose testimony was relied upon to support issuance of the search warrant.

           19.     Defendants and/or other law enforcement officers at Defendants’ direction

    removed property from the Blanchard residence that they failed to record on the search

    warrant inventory list, and/or otherwise failed to notify Mrs. Blanchard of all property

    seized and taken from the residence.

           20.     Defendants and/or other law enforcement officers at Defendants’ direction

    damaged property within the Blanchard residence. For example:

                   a. Defendant Williams kicked in the door to Mr. Blanchard’s room

                       within the home thereby damaging the door;

                   b. Defendants and/or other law enforcement officers at Defendants’

                       direction broke the lock on Mrs. Blanchard’s gun cabinet; and

                   c. Defendants and/or other law enforcement officers at Defendants’

                       direction damaged a cabinet in the kitchen during their search.

           21.     Thereafter, Defendants attempted to question Mr. Blanchard about alleged

    illegal activities. When Mr. Blanchard refused to provide to the Defendants the identity

    of his drug supplier, the Defendants threatened to obtain criminal charges against Mrs.

    Blanchard despite there being no evidence that she had done anything illegal.




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           22.     Despite this threat, Mr. Blanchard refused to provide Defendants with the

    information they sought.

           23.     Accordingly, on April 21, 2014, Defendants made good on their threat:

    Defendant Williams appeared before the Grand Jury for the Circuit Court for Wythe

    County and provided information from which the Grand Jury indicted Mrs. Blanchard on

    three (3) counts of violation of Virginia Code § 18.2-308.4.C., which states, in part, that:

           It shall be unlawful for any person to possess, use, or attempt to use any pistol,
           shotgun, rifle, or other firearm or display such weapon in a threatening manner
           while committing or attempting to commit the illegal manufacture, sale,
           distribution, or the possession with the intent to manufacture, sell, or distribute a
           controlled substance classified in Schedule I or Schedule II of the Drug Control
           Act (§ 54.1-3400 et seq.) or more than one pound of marijuana.


    and one (1) count of Possession with Intent to Distribute Methamphetamine, a Schedule

    II controlled substance, in violation of Virginia Code § 18.-248.

           24.     The offense date for these alleged offenses was January 9, 2014, i.e., the

    date Mr. Blanchard was arrested, and the search warrant was later executed on the

    Blanchard property.

           25.     Absolutely no evidence existed, or now exists, that on January 9, 2014,

    Mrs. Blanchard:

                   a. Possessed a Schedule I or II controlled substance;

                   b. Manufactured, sold, distributed, or possessed with intent to

                       manufacture, sell, or distribute a Schedule I or II controlled substance;

                       and/or

                   c. Employed a firearm in any threatening manner.




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            26.     Upon information and belief, Williams’ testimony before the grand jury

    was misleading and false, and without this misleading testimony the grand jury would not

    have indicted Blanchard.

            27.     Upon information and belief, Williams’ misleading and false testimony

    included that Blanchard possessed Methamphetamine, possessed Methamphetamine with

    the intent to distribute and/or sell it, and possessed a firearm while engaged in

    distributing Methamphetamine: each of the indictments obtained against Blanchard

    required that she distribute, sell, and/or possess with intent to distribute or sell

    Methamphetamine.

            28.     Upon information and belief, the other Defendants assisted Williams in

    providing the misleading information about which Williams testified before the Grand

    Jury.

            29.     Mrs. Blanchard was arrested on those indictments on April 24, 2014.

            30.     From April 24 until May 19, 2014, Mrs. Blanchard was incarcerated at the

    New River Valley Regional Jail in solitary confinement because a family member

    worked at the jail.

            31.     When Mrs. Blanchard secured her release from jail, she was prohibited

    from leaving the Commonwealth of Virginia, and had to pay a bail bondsman to post a

    bond for her release.

            32.     These charges were ultimately nolle prosequied on March 2, 2015, but

    Defendants were not finished with Mrs. Blanchard.

            33.     On or about April 21, 2015, again based on evidence from Defendant

    Williams, the Wythe County Grand Jury indicted Mrs. Blanchard for Possession with




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    Intent to Distribute Methamphetamine in violation of Virginia Code § 18.2-248, and

    Possession of a Schedule I or II Controlled Substance, While Simultaneously with

    Knowledge and Intent Possessing a Firearm, in violation of § 18.2-308.4.

            34.     Upon information and belief, the other Defendants assisted Williams in

    pursuing the criminal charges against Mrs. Blanchard and/or in providing the information

    about which Williams testified to before the Grand Jury.

            35.     Again, absolutely no evidence existed, or now exists, that on January 9,

    2014, Mrs. Blanchard:

                    a. Possessed a Schedule I or II controlled substance;

                    b. Manufactured, sold, distributed, or possessed with intent to

                        manufacture, sell, or distribute a Schedule I or II controlled substance;

                        and/or

                    c. Possessed a firearm while possessing a Schedule I or II controlled

                        substance.

            36.     Upon information and belief, Williams’ testimony before the grand jury

    was misleading and false, and without this misleading testimony the grand jury would not

    have indicted Blanchard.

            37.     Upon information and belief, Williams’ misleading and false testimony

    included that Blanchard possessed Methamphetamine, possessed Methamphetamine with

    the intent to distribute and/or sell it, and possessed a firearm while engaged in

    distributing Methamphetamine: each of the indictments obtained against Blanchard

    required that she distribute, sell, and/or possess with intent to distribute or sell

    Methamphetamine.




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           38.     On these new charges, Mrs. Blanchard was arrested on April 29, 2015.

           39.     Ultimately, these two (2) charges were dismissed on March 2, 2016.

           40.     To defend her from these criminal charges, Mrs. Blanchard incurred legal

    fees in the amount of approximately $10,000.

           41.     Mrs. Blanchard did not recover all of the items that were seized from her

    home by the Defendants on or about January 9, 2014:

                   a. Mr. and Mrs. Blanchard’s Mazda automobile, which still had an

                        outstanding balance owed of approximately $7,000.00, was

                        impounded by the Defendants: Mrs. Blanchard repeatedly called the

                        Wythe County Sheriff’s Office in an attempt to retrieve the vehicle,

                        but she was told it was sold to pay storage fees;

                   b.   Mrs. Blanchard only received one (1) of the videotapes from her

                        video surveillance cameras, but the video footage had been erased;

                   c. Mrs. Blanchard recovered her Kyocera cell phone as well as her digital

                        camera, but pictures were erased from those items as well;

                   d. Mrs. Blanchard did not recover her Suzuki four-wheeler; this item was

                        surrendered as a condition of Mr. Blanchard’s plea agreement; and

                   e. Mrs. Blanchard has not recovered her pump .22-caliber rifle.

           42.     Mrs. Blanchard’s doctor at the time recommended that she seek treatment

    from a psychiatrist in Bluefield, West Virginia when she was first released from jail on

    bond to address symptoms that arose as a result of the January 9, 2014 incident and her

    subsequent prosecution.




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               43.   However, Mrs. Blanchard was prohibited from leaving the state as a

     condition of her release and could not seek treatment from the recommended psychiatrist.

               44.   Mrs. Blanchard’s current primary care doctor also recommended that she

     seek treatment from a therapist and has prescribed to Mrs. Blanchard medications for

     symptoms that arose as a result of the January 9, 2014 search of her residence and the

     events that occurred thereafter surrounding her arrest and prosecution.

                                      COUNT I
                       VIOLATION OF THE FOURTH AMENDMENT
                     AGAINST PRATER, TABOR, TUCK, AND WILLIAMS
                          IN THEIR INDIVIDUAL CAPACITIES

               45.   The foregoing paragraphs are adopted and re-alleged as if fully set forth

     herein.

               46.   Defendants Prater, Tabor, Tuck, Williams, and other unknown law

     enforcement officers unlawfully entered and seized Mrs. Blanchard’s home, and

     unlawfully seized Mrs. Blanchard and property from Mrs. Blanchard’s home without a

     warrant; without exigent circumstances that legally justified their entry into and search of

     the Blanchard home.

               47.   In doing so, Prater, Tabor, Tuck, and Williams violated Mrs. Blanchard’s

     right to be free from unreasonable search and seizure, secured to her by the Fourth

     Amendment to the Constitution of the United States.

               48.   Prater, Tabor, Tuck, and Williams acted under color of law when they

     seized Mrs. Blanchard and when they seized and searched Mrs. Blanchard’s home

     without a warrant and without exigent circumstances that justified their warrantless entry

     and search of Mrs. Blanchard’s home.




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            49.        As a direct and proximate result of the actions of Prater, Tabor, Tuck, and

     Williams, Mrs. Blanchard was seized and her home was seized and searched in violation

     of the Fourth Amendment to the United States Constitution.

            50.        As a direct and proximate result of the actions of Prater, Tabor, Tuck, and

     Williams, Mrs. Blanchard suffered and will continue to suffer pecuniary loss, emotional

     pain, suffering, inconvenience, mental anguish, loss of enjoyment of life, and other non-

     pecuniary loss.

            51.        At the time of the actions of Prater, Tabor, Tuck, and Williams, the right

     of Mrs. Blanchard to be free from unreasonable search and seizure was clearly

     established, and Prater, Tabor, Tuck, and Williams cannot avail themselves of qualified

     immunity.

            52.        At all times material thereto, Prater, Tabor, Tuck, and Williams violated

     the right of Mrs. Blanchard to be free from unreasonable search and seizure, with malice

     or reckless indifference to her constitutionally-protected rights, and knew or should have

     known that their actions violated the law, so as to support an award of liquidated and/or

     punitive damages.

            WHEREFORE, Mrs. Blanchard, for violation of her constitutional rights, asks

     this Court to:

            a.         Declare that the actions of Prater, Tabor, Tuck, and Williams violated

                       Mrs. Blanchard’s Constitutional rights;

            b.         Award Mrs. Blanchard compensatory damages against Prater, Tabor,

                       Tuck, and Williams;




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               c.      Award Mrs. Blanchard punitive damages against Prater, Tabor, Tuck, and

                       Williams;

               d.      Award Mrs. Blanchard her costs and attorneys’ fees incurred/expended

                       herein; and

               e.      Award Mrs. Blanchard such other relief as the Court may deem necessary

                       and appropriate.

                                       COUNT II
                       MALICIOUS PROSECUTION (STATE LAW CLAIM)
                     AGAINST DEFENDANT PRATER, TUCK, AND WILLIAMS

               53.     The foregoing paragraphs are adopted and re-alleged as if fully set forth

     herein.

               54.     Defendants Prater, Tuck, and Williams instituted and/or procured the

     prosecution of Mrs. Blanchard as alleged herein.

               55.     Defendants Prater, Tuck, and Williams instituted and/or procured the

     second prosecution of Mrs. Blanchard as alleged herein.

               56.     Both the first and second prosecutions against Mrs. Blanchard were

     without probable cause.

               57.     With the assistance of Defendants Prater and Tuck, Defendant Williams

     provided misleading testimony in order to institute and/or procure the prosecutions of

     Mrs. Blanchard.

               58.     The first prosecution against Mrs. Blanchard was nolle prosequied, i.e.,

     terminated in a manner not unfavorable to Mrs. Blanchard.

               59.     The second prosecution against Mrs. Blanchard was dismissed, i.e.,

     terminated in a manner not unfavorable to Mrs. Blanchard.




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            60.     Defendants Prater, Tuck, and Williams instituted or procured the

     prosecution of Mrs. Blanchard with malice.

            61.     As a result of the Defendants’ actions, Mrs. Blanchard has suffered

     pecuniary losses, emotional pain, suffering, inconvenience, mental anguish, loss of

     enjoyment of life, and other non-pecuniary loss.

            62.     Defendants Prater, Tuck, and Williams acted with actual malice so as to

     support an award of punitive damages.

            WHEREFORE, Mrs. Blanchard, for malicious prosecution, moves for judgment

     in compensatory damages and punitive damages against Defendants Prater, Tuck, and

     Williams in an amount and sum to be determined by a jury, and for such other relief as

     the Court may deem necessary and appropriate.

                                   COUNT III
                  MALICIOUS PROSECUTION AGAINST DEFENDANTS
                          PRATER, TUCK, AND WILLIAMS
                    IN VIOLATION OF THE FOURTH AMENDMENT

            63.     The foregoing paragraphs are incorporated herein as if fully set forth.

            64.     Defendants Prater, Tuck, and Williams instituted and/or procured the

     prosecution of Mrs. Blanchard as alleged herein.

            65.     Defendants Prater, Tuck, and Williams instituted and/or procured the

     second prosecution of Mrs. Blanchard as alleged herein.

            66.     Both the first and second prosecutions against Mrs. Blanchard were

     without probable cause.

            67.     As a result of Defendants Prater’s, Tuck’s, and Williams’ institution

     and/or procurement of these criminal prosecutions, Blanchard was seized on two (2)

     separate occasions pursuant to legal process unsupported by probable cause.



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               68.   With the assistance of Defendants Prater and Tuck, Defendant Williams

     provided misleading testimony in order to institute and/or procure the prosecutions of

     Mrs. Blanchard.

               69.   The first prosecution against Mrs. Blanchard was nolle prosequied, i.e.,

     terminated in a manner not unfavorable to Mrs. Blanchard.

               70.   The second prosecution against Mrs. Blanchard was dismissed, i.e.,

     terminated in a manner not unfavorable to Mrs. Blanchard.

               71.   Defendants Prater, Tuck, and Williams acted as alleged herein with

     malice.

               72.   Defendants Prater, Tuck, and Williams acted under color of state law

     and/or federal law.

               73.   Defendants Prater’s, Tuck’s, and Williams’ actions deprived Mrs.

     Blanchard of a federally protected right, i.e., to be free from unreasonable seizure.

               74.   As a result of Defendants Prater’s, Tuck’s, and Williams’ actions, Mrs.

     Blanchard has suffered pecuniary losses, emotional pain, suffering, inconvenience,

     mental anguish, loss of enjoyment of life, and other non-pecuniary loss.

               75.   At all times material hereto, Defendants Prater, Tuck, and Williams denied

     Mrs. Blanchard her constitutionally-protected rights, and knew or should have known

     that their actions violated federal law, so as to support an award of liquidated and/or

     punitive damages.

               WHEREFORE, Nancy Blanchard, by counsel, for violation of her constitutional

     rights, asks this Court to:




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            a. Declare that Defendants Prater’s, Tuck’s, and Williams’ actions violated the

                  Fourth Amendment to the Constitution of the United States;

            b. Award her compensatory damages in an amount to be determined by a jury;

            c. Award her punitive damages in an amount to be determined by a jury;

            d. Award her costs and attorney’s fees incurred/expended herein; and

            e. Award her such other relief as the Court may deem necessary and appropriate.

                                   COUNT IV
                  CONSPIRACY TO MALICIOUSLY PROSECUTE AGAINST
                     DEFENDANTS PRATER, TUCK, AND WILLIAMS

            76.      The foregoing paragraphs are incorporated herein as if fully set forth.

            77.      Defendants Prater, Tuck, and Williams conspired to maliciously prosecute

     Nancy Blanchard because Mr. Blanchard would not provide information to them about

     his alleged criminal activity.

            78.      Defendants Prater, Tuck, and Williams conspired to provide misleading

     information to the Wythe County Circuit Court Grand Jury in order to institute and/or

     procure the prosecution of Mrs. Blanchard on two (2) separate occasions.

            79.      Pursuant to this conspiracy, Defendant Williams instituted and/or procured

     the prosecution of Mrs. Blanchard for three (3) counts of Possession of a Firearm while

     Possessing with Intent to Distribute a Schedule II Controlled Substance; and one (1)

     count of Possession with Intent to Distribute Methamphetamine.

            80.      Pursuant to this conspiracy, Defendant Williams instituted and/or procured

     the second prosecution of Mrs. Blanchard for Possession with Intent to Distribute

     Methamphetamine, and Possession of a Firearm while Possessing a Schedule II

     Controlled Substance.




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            81.     Both the first and second prosecutions against Mrs. Blanchard were

     without probable cause.

            82.     Pursuant to this conspiracy, Defendant Williams provided misleading

     testimony in order to institute and/or procure the prosecutions of Mrs. Blanchard.

            83.     The first prosecution against Mrs. Blanchard was nolle prosequied, i.e.,

     terminated in a manner not unfavorable to Mrs. Blanchard.

            84.     The second prosecution against Mrs. Blanchard was dismissed, i.e.,

     terminated in a manner not unfavorable to Mrs. Blanchard.

            85.     Defendants Prater, Tuck, and Williams conspired to institute and/or

     procure the prosecution of Mrs. Blanchard with malice.

            86.     As a result of the Defendants’ actions, Mrs. Blanchard has suffered

     pecuniary losses, emotional pain, suffering, inconvenience, mental anguish, loss of

     enjoyment of life, and other non-pecuniary loss.

            87.     Defendants Prater, Tuck, and Williams acted with actual malice so as to

     support an award of punitive damages.

            WHEREFORE, Mrs. Blanchard, for malicious prosecution, moves for judgment

     in compensatory damages and punitive damages against Defendants Prater, Tuck, and

     Williams in an amount and sum to be determined by a jury, and for such other relief as

     the Court may deem necessary and appropriate.

                                    COUNT V
                  CONSPIRACY TO MALICIOUSLY PROSECUTE AGAINST
                  DEFENDANTS PRATER, TABOR, TUCK, AND WILLIAMS
                     IN VIOLATION OF THE FOURTH AMENDMENT

            88.     The foregoing paragraphs are incorporated herein as if fully set forth.




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            89.     Defendants Prater, Tabor, Tuck, and Williams conspired to maliciously

     prosecute Nancy Blanchard because Mr. Blanchard would not provide information to

     them about his alleged criminal activity.

            90.     Defendants Prater, Tabor, Tuck, and Williams conspired to provide

     misleading information to the Wythe County Circuit Court Grand Jury in order to

     institute and/or procure the prosecution of Mrs. Blanchard on two (2) separate occasions.

            91.     Pursuant to this conspiracy, Defendant Williams instituted and/or procured

     the prosecution of Mrs. Blanchard for three (3) counts of Possession of a Firearm while

     Possessing with Intent to Distribute a Schedule II Controlled Substance; and one (1)

     count of Possession with Intent to Distribute Methamphetamine.

            92.     Pursuant to this conspiracy, Defendant Williams instituted and/or procured

     the second prosecution of Mrs. Blanchard for Possession with Intent to Distribute

     Methamphetamine, and Possession of a Firearm while Possessing a Schedule II

     Controlled Substance.

            93.     Both the first and second prosecutions against Mrs. Blanchard were

     without probable cause.

            94.     As a result of Williams’ institution and/or procurement of these criminal

     prosecutions by Williams, Blanchard was seized on two (2) separate occasions pursuant

     to legal process unsupported by probable cause.

            95.     Pursuant to this conspiracy, Defendant Williams provided misleading

     testimony in order to institute and/or procure the prosecutions of Mrs. Blanchard.

            96.     The first prosecution against Mrs. Blanchard was nolle prosequied, i.e.,

     terminated in a manner not unfavorable to Mrs. Blanchard.




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               97.      The second prosecution against Mrs. Blanchard was dismissed, i.e.,

     terminated in a manner not unfavorable to Mrs. Blanchard.

               98.      Defendants Prater, Tabor, Tuck, and Williams acted as alleged herein with

     malice.

               99.      Defendants Prater, Tabor, Tuck, and Williams acted under color of state

     law, and/or federal law.

               100.     Defendant Prater’s, Tabor’s, Tuck’s, and Williams’ actions deprived Mrs.

     Blanchard of a federally protected right, i.e., to be free from unreasonable seizure.

               101.     As a result of Defendant Prater’s, Tabor’s, Tuck’s, and Williams’ actions,

     Mrs. Blanchard has suffered pecuniary losses, emotional pain, suffering, inconvenience,

     mental anguish, loss of enjoyment of life, and other non-pecuniary loss.

               102.     At all times material hereto, Defendant Prater, Tabor, Tuck, and Williams

     denied Mrs. Blanchard her constitutionally-protected rights, and knew or should have

     known that their actions violated federal law, so as to support an award of liquidated

     and/or punitive damages.

               WHEREFORE, Nancy Blanchard, by counsel, for violation of her constitutional

     rights, asks this Court to:

               f. Declare that Defendant Prater’s, Tuck’s, and Williams’ actions violated the

                     Fourth Amendment to the Constitution of the United States;

               g. Award her compensatory damages in an amount to be determined by a jury;

               h. Award her punitive damages in an amount to be determined by a jury;

               i. Award her costs and attorney’s fees incurred/expended herein; and

               j. Award her such other relief as the Court may deem necessary and appropriate.




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                                  DEMAND FOR JURY TRIAL

            Plaintiff demands trial by jury.

                                                           Respectfully submitted,
                                                           NANCY BLANCHARD

                                                           /s/ Melvin E. Williams
                                                           Of Counsel

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                                  CERTIFICATE OF SERVICE

            I hereby certify that on this ____ day of June 2017, I electronically filed the

     foregoing Memorandum with the Clerk of Court using the CM/ECF system, which will

     send notification to counsel of record.

                                                           /s/ Melvin E. Williams
                                                           Of Counsel




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